           Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 1 of 8




In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
ROGER M. STECK,          *
                         *                         No. 16-177V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: June 27, 2017
                         *
SECRETARY OF HEALTH      *                         Stipulation; Tetanus vaccine;
AND HUMAN SERVICES,      *                         Hepatitis A vaccine; Hepatitis B
                         *                         vaccine; Guillain-Barré
                         *                         syndrome (“GBS”).
             Respondent. *
******************** *

Steven M. Cohen, HoganWillig, Getzville, NY, for Petitioner;
Darryl R. Wishard, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On June 27, 2017, the parties filed a joint stipulation concerning the petition
for compensation filed by Roger M. Steck on February 5, 2016. In his petition,
petitioner alleged that the tetanus, hepatitis A, and hepatitis B vaccines, which are
contained in the Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and
which he received on June 27, 2013, caused him to suffer Guillain-Barré
syndrome. Petitioner further alleges that he suffered the residual effects of this
injury for more than six months. Petitioner represents that there has been no prior
award or settlement of a civil action for damages on his behalf as a result of his
condition.


       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
           Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 2 of 8



       Respondent denies that the vaccines either caused or significantly
aggravated petitioner’s alleged injury or any other injury, and denies that
petitioner's current disabilities are the result of a vaccine-related injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $700,000.00 in the form of a check payable to
       petitioner, Roger M. Steck. This amount represents compensation for
       all damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 16-177V according to this decision
and the attached stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
           Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 3 of 8




                        IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  OFFICE OF SPECIAL MASTERS

                                                                         )
ROGE R M . ST EC K.                                                      )
                                                                         )
                            Petiti oner.                                 )          No. I 6- I 77 Y F:C F
                                                                         )
                       v.                                                )          Spec ial M aster Moran
                                                                         )
    EC RETA RY OF HEALTll                                                )
A     D H UM A SE RV ICE .                                               )
                                                                         )
        Respondent.                                                      )
_ _ _______     ____ __ )
                                                                  STIPULATION

           The parti es hereby stipulate to the fo l lowing mailers:

            I.    Petiti oner. Roger M. Steck. fil ed a petition f()r vaccin e compensation under the

Nati onal Vacc ine Injury Compensati on Program. 42 U . .C. ~~ 300aa- I 0 to 34 (the "Vacc ine

Program").           T he petition seek compensation fo r injurie alleged ly related to petitioner' s recei pt

o f the tetanus. hepatiti s A . and hepatitis B vacc ines ("vacc ines"). w hich are contained in the

Vaccine Injury Tab le (the "Tab le" ). 42 C. F.R. ~ I 00.3(a). 1

           2.     O n June 27. 20 13. petitioner rece ived the vaccines.

           3.     T he vaccines were admini stered" ithin the United Stale .

           4.     Petitioner alleges that. as a result o f receiv ing the vaccin es. he suffered fro m

Guillain-Barre syndro me ("G BS" ). and that he expe ri enced symptoms o f thi s injury for more

than six months.

           5.     Petitioner represents that there has been no pri or award or settlement o r a civ il acti on



           I l'c.:titionc.:r also rc.:cci\C.:U the   t~   rhniu \<lccinc.: on th.it S<llllC.: date. hut that \<lCcinc is not CO \Crcu unuc.:r the.:
Vaccine.: J>rogrn rn .
        Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 4 of 8




for damages as a resul t o f hi alleged injuries.

        6.     Respondent denies that th e vacc ines either caused or signifi cantl y aggravated

petitioner' s alleged injury or any other injury. and denies that peti t ioner ·s current di ab ilities arc

the result o f a vacc ine-related inj ury.

        7.     Maintain ing their above-stated positions. the parties nevertheless now agree that the

issues bet ween them shall be settled and that a decision should be entered awardin g the

compensatio n described in paragraph 8 of" thi s Stipulation.

        8.     A s soon as practicable after an entry of'j udgment refl ecting a decision consistent

wi th the terms o f thi s Stipulation. and after petitioner has fil ed an election to receive

compensation pu rsuant to 42 U.S.C. ~ 300aa-2 I (a)( I ). the Sec retary o r Hea lth and Hum an

 ervices w ill issue the fo llow ing vaccine compensatio n payment:

                  A lump sum o f $700.000.00. in the form o r a check payable to petitio ner. Thi s
                  amount represents compensation for all damages that \\ Ou Id be availab le under .f2
                  U .S.C. ~ 300aa- I 5{a).

        9.     A s soo n as practicable after the entry o f"judgmcnt on entitl ement in thi s case. and

aft er petitioner has fil ed both a proper and tim ely election to receive compensation pursuant to

42 U.S.C. Section 300aa-2 I (a)( I ). and an app li cati o n. the parties wi ll submit to further

proceedings before the special master to award reasonab le attorn eys· fees and costs incurred in

proceed ing upon th is pet ition.

        I 0.    Petitio ner and his attorney represent that compensation to be prov ided pursuant to

th is Stipul ation is not for any items or services for'' hich the Program is not prim aril y l iable

under 42 U .S .C. ~ 300aa- I 5(g). to the ex tent that payment has been made or can reasonabl y be

expected to be made und er any State compensation program s. insurance po licies. Federal or



                                                     2
        Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 5 of 8




 tate health benefits program s (other than Title X I X o f the Social Securit y Act (42 U.S.C.

§ 1396 et seq.)). or by entities that provide hea lth serv ices on a pre-pa id basis.

         11 .   Payment made pursuant to paragraph 8 o f thi s Stipu lation. and any amounts

awarded pursuant to paragraph 9 of thi s Stipulation. w ill be made in accord ance w ith 42 U.S.C.

§ 300aa- l 5( i). subject to the avai labi lity o f sufficient statutory fund s.

         12.    The parti es and their attorn eys further agree and stipulate that. except for an) award

for attorn eys· fee s and liti gati on costs. the money provided pursuant to thi s Stipulati on w ill be

used so lel y for the benefit of petitioner. as contemplated by a strict construction o f -l2 U.S.C.

§ 300aa- l 5(a) and (d). and subj ect to the conditio ns o r 42 U.S.C. §§ 300aa-l 5(g) and (h).

         13.    In return for the payments de cribed in paragraphs 8 and 9. petitioner. in hi s

indiv idual capaci ty and on behalf o f his heirs. executors. ad ministrators. successors or ass igns.

does foreve r irrevocably and unconditionally release. acq uit and di scharge the United States and

the Secretary o f Health and Human Services from any and all acti ons. ca uses o f action (inc lud in g

agreements. judgments. c laims. damage . loss o r serv ices. expenses and all demand s o r whatever

kind or nature) that have been brought. could have been brought. or could be timely brought in

th e Court of Federal C laims. und er the National Vaccine Injury Compensation Program. 42

U.S.C. § 300aa- I 0 et seq .. on account o f. or in any \\ a)' growing out o r any and all known or

unknown. suspected or unsuspected personal injuries to o r death o f petiti oner resulting fro m. o r

alleged to have resul ted from. the vaccines ad ministered on June 27. 20 13. as alleged by

pet itioner in a petit ion fo r vaccine compensation fi led on or about February 5. 20 16. in the

United States Court of Federa l Claims as petition N o. l 6- I 77V.

        14.     I f petitioner shoul d die prior to entr) o r judgment. thi s agreement shall be voidab le



                                                       3
       Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 6 of 8




upon proper notice to the Court on behal f of either or both o f th e parti es .

        15.   l f the special ma ter fa il s to issue a dec ision in complete confo rmity w ith the terms

of thi s tipulati on or if the Court of Federal C laim fa ils to enter judgment in conformity " ith a

decisio n that is in complete conformit y with the term s o f thi s Stipulati on. then the parties·

settlement and thi s Stipu lation shall be voidabl e at the so le di scretion o r either party.

        16.   T his Stipulati on ex pre ses a full and compl ete negotiated settl ement o f liab ilit) and

damages claim ed under the       ational Childhood Vacc ine Injury Act o f 1986. as amended. except

as otherw ise noted in paragraph 9 above .      There is ab o lutely no agreement on the part o f th e

parti es hereto to make any payment or to do any act or thing other than is herein express!) stated

and clearl y agreed to.   T he parti es further agree and understand that the award described in this

stipulation may reflect a compromise o f the parti es· respecti ve positions as to liability and/o r

amount o f damages. and further. that a change in the nature o f the inj ury or condition or in the

items o r com pensation sought. is not grounds to modify or rev ise thi s agreement.

        17. T hi s Stipulati on shall not be construed as an admi ss ion by the Un ited States or the

Secretary o f Hea lth and Human Servi ces that the vaccines received by petitio ner either caused or

significantl y aggravated petiti oner's alleged injury or any other injury.

        18.   A ll ri ghts and obligations of petitio ner hereunder shall appl y equally to petitioner·s

heirs. executors. administrators. successors. and/or a signs.

                                       END OF STIPULATION
     Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 7 of 8




 Respectfully submi tted,

 PETITI ONER:



 - / ri:· Dc , ., /?/ '- ~-/CC k__
         1


 ROGER M-. STECK

 ATTOR NEY OF RF.COR D FOR                          AUTHO RI ZED REPRESF.NTATI VE
 PETITI ONER:                                       OF T HE ATTOR NEY GENER AL:

                       ~··
 ~
             ./
                  //'/ -·/L _--
 ~N MICHAEL COHEN                                  CATHAR INE E. REEVES
Hogan Wil lig S i-... vc. "1 /0. G.Y l ·.e-i       Deputy Director
24 10 North forest Road, Sui te 20 I               Torts 13 ranch
Amhers t, NY 14068                                 Civ il Division
(7 16) 636- 7600                                   U.S. Department of Justi<.:e
                                                   P.O. Box 146
                                                   Benjamin franklin Station
                                                   Washington. DC 20044-0 146

                                                   ATTOR NEY OF RECORD FOR
OF THE SE                                          Rli:SPONDENT:
AND~UM


   /.(                          ~-                                      ...
                                                   DARRYL R. WISHl\RD
Director, Division o f Injury                      Scnior Trial At lorncy
  Compensation Program s                           Torts Brandi
Heal thca re Systems Bureau                        Civil Division
U.S. Department of Health                          U.S. Departm ent of Justice
  and Human Services                               P.O. Box 146
5600 Fishers Lane                                  Benjamin Frankli n Station
Parklaw n Building, Mail Stop 08N 14611            Was hington, DC 20044-0 146
Rockvil le, MD 20857                               Tel: (202) 616-4357


Dated:



                                               5
         Case 1:16-vv-00177-UNJ Document 48 Filed 07/28/17 Page 8 of 8




 Respectful ly submitted.

 PETITION ER:




 ROG       M . STECK

 ATTO RNEY OF RECORD FOR                                       AUTHORI ZED RE PRESENT A TI VE
 PETITION ER:                                                  OF T HE ATTORNE Y GENERAL :




STE~ N        M ICI IAEL COHF.
l loganWillig ) t .... .,,c....., ,,1.--f w   l......r1       Deput) Director
2.+ I 0 onh Forest Road. Suite 20 I                           Torts Branch
/\mherst. NY I .+068                                          Ci,·il Di\' ision
(7 16) 636-7600                                               U.S. Department or Justice
                                                              P.O. 11ox 146
                                                              Benjamin Frank lin Station
                                                              Washington. DC 20044-0146

AUTHORI ZED R EPR ESENTATI VE                                 ATTOR NEY OF RECO RD FO R
OF THE SEC RETA RY OF HEALTH                                  RESPON DENT :
AND HlJMAN SE RV I CES:




N/\ RA Y /\N     A IR. M.D                                    DARRYi. R. WISI 11\RD
Di rector. Divis ion of lnjur)                                Senior Trial .'\ttorne\
   Compen sati on Progra ms                                   Ton s Branch
I lea lthcare System s Bureau                                 Ci"il Divi sion
U.S. Depa11ment o f Hea lth                                   ll .S. Department of Justice
   and 1lurnan Services                                       P.O . Box 146
5600 Fi shers Lane                                            Benjamin Franklin Stat ion
Park la" n Building. Mail Stop 08 146B                        Washington. DC 20044-0146
Rock\ ille. MD 20857                                          Tel : (202) 616-4 ~57


Dated:



                                                          5
